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                                   8                                 UNITED STATES DISTRICT COURT

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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                  12    X CORP., INC.,
Northern District of California
 United States District Court




                                  13                   Plaintiff,                            No. C 23-03698 WHA

                                  14            v.                                           ORDER RE DISCOVERY DISPUTES
                                  15    BRIGHT DATA LTD.,
                                  16                   Defendant.

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                                  19         Bright Data shall respond to X Corp.’s discovery disputes (Dkt. Nos. 197, 199) by NOON
                                  20    ON TUESDAY, FEBRUARY 25, 2025. Bright Data need not address anything raised or referenced

                                  21    beyond the first twelve pages of attachments in each letter brief.
                                  22         Both sides shall appear to argue the issues at 11:00 A.M. ON THURSDAY, FEBRUARY 27,
                                  23    2025, IN COURTROOM 12, SAN FRANCISCO.
                                  24         Separately, X Corp.’s discovery letter briefs and accompanying administrative motions to
                                  25    seal violated court orders. First, the discovery-letter briefs surpass page limits. As paragraph
                                  26    35 of the undersigned’s standing order states: “Up to twelve pages of attachments may be
                                  27    added.” Supp. Order to Order Setting Initial Case Mgmt. Conf. in Civil Cases Before Judge
                                  28    William Alsup ¶ 35 (Aug. 27, 2024). That paragraph goes on to say that the “letter should be
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                                   1    electronically-filed in the official file along with the discovery-dispute requests and responses”

                                   2    (ibid.). X Corp.’s letter briefs cite this rule, but then add 104 and 37 pages of attachments,

                                   3    respectively, once sealed pages are included (see Dkt. Nos. 197–98, 199–200). X Corp.

                                   4    explains its largess by construing that the “12-page limit on attachments [applies only to those]

                                   5    that are not ‘discovery-dispute requests and responses’” (Dkt. No. 197-1 at 5 (capitalization

                                   6    altered)). Second, the administrative motions to seal do not reproduce the “entire substantive

                                   7    filing” (Dkt. No. 138 ¶ 4), leaving parties and court to puzzle together X Corp.’s package.

                                   8    Third, this is not the first time X Corp. appears to have not read or followed the rules

                                   9    governing this case (see, e.g., Dkt. No. 164 at 3).

                                  10          Therefore, X Corp. is ORDERED TO DO AS FOLLOWS:

                                  11          1. Provide a declaration from the person(s) at the firm who cite-checked these letter

                                  12    briefs, if any, and from Joshua Branson, who signed both, attesting to whether they believed in
Northern District of California
 United States District Court




                                  13    good faith and with candor that the undersigned’s standing order contained the novel loophole.

                                  14          2. Provide a declaration from the person at the firm responsible for ensuring that local

                                  15    rules and standing orders are followed across all jurisdictions to explain how these failures

                                  16    have come to pass, and explaining corrective measures to ensure they will not result in the

                                  17    future in this case or in other cases.

                                  18          These declarations shall be filed by 9:00 A.M. ON THURSDAY, FEBRUARY 27, 2025, and

                                  19    any person signing such a declaration shall appear at the hearing at 11:00 a.m. that same day.

                                  20         IT IS SO ORDERED.

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                                  22    Dated: February 20, 2025.

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                                                                                                WILLIAM ALSUP
                                  25                                                            UNITED STATES DISTRICT JUDGE
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